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                         UNITED STATES DISTRICT COURT
                      DISTRICT OF MARYLAND (BALTIMORE)
____________________________________________________________________________________

CIMON LOVESS,                                                           CASE NO. 1:19-cv-03530-GLR
          Plaintiff,

        vs.

WAKEFIELD & ASSOCIATES, INC.;
CEP AMERICA, LLC; TRANS UNION, LLC;
and EXPERIAN INFO. SOLS. INC.;
            Defendants.
____________________________________________________________________________________

     STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                       DEFENDANT TRANS UNION, LLC ONLY
   ______________________________________________________________________________

        Plaintiff Cimon Lovess (“Plaintiff”), by counsel, and Defendant Trans Union, LLC (“Trans

Union”), by counsel, hereby stipulate and agree that all matters herein between them have been

compromised and settled, and that Plaintiff’s cause against Trans Union only should be dismissed, with

prejudice, with each party to bear its own costs and attorneys’ fees.

                                                     Respectfully submitted,

Date:    May 28, 2021                                /s/ Jeffrey W. Styles (with consent)
                                                     Jeffrey W. Styles, Esq.
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                                                     Counsel for Plaintiff Cimon Lovess
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Date:   May 28, 2021                       /s/ Evan R. Rutter
                                           Robert J. Schuckit, Esq. (MD Federal Bar #14125)
                                           Evan R. Rutter, Esq. (814344)
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                                           Counsel for Defendant Trans Union LLC




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                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically on the

28th day of May, 2021. Notice of this filing will be sent to the following parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s electronic filing.

 Jeffrey W. Styles, Esq.                            Syed Mohsin Reza, Esq.
 jstyles@washlegal.com                              mohsin.reza@troutmansanders.com

         The undersigned further certifies that a true copy of the foregoing was served on the following

parties via First Class, U.S. Mail, postage prepaid, on the 28th day of May, 2021 properly addressed as

follows:

 None.



                                                      /s/ Evan R. Rutter
                                                      Robert J. Schuckit, Esq. (MD Federal Bar #14125)
                                                      Evan R. Rutter, Esq. (814344)
                                                      (admitted Pro Hac Vice)
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                                                      Counsel for Defendant Trans Union LLC




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